Case 2:04-cV-02620-.]DB-tmp Document 43 Filed 06/22/05 Page 1 of 2 Page|D 41

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FoR THE WESTERN DIsTRIcT oF TENNESSEE .
wEsTERN olesIoN 05 JUN 22 AH |U' w
MEMPHIS PUBLISHING co., %?§§§,T §s`me§iqc':'€
\N.Dd O:': TN, !‘AE.MF'H|S
Plaimiff,
v. No. 04-2620-13/1>

NEWSPAPER GUILD OF MEMPHIS,
LOCAL 33091,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff’s Motion to Expedite Determination on Mernphis Publishing
Company’s Motion to Amend Complaint, or, in the Alternate, Stay Arbitration Pending Lawsuit
filed on June 20, 2005.

This motion is referred to the United States Magistrate Judge for determination and/or
report and recommendation Any objections to the magistrate judge’s order and/or report and
recommendation shall be made Within ten (10) days after service of the order and/or report,
setting forth particularly those portions of the order and/or report objected to and the reasons
for the objections. Failure to timely assign as error a defect in the magistrate judge’s order
and/or report Will constitute a waiver of that objection. _S__eg Rule 72(a), Feder_al Rules of Civil

Procedure .

IT rs so oRDERED this l;&day of June, 2005.

WW’>@\

` . DANIEL BREEN \
NITE sTATEs DISTRICT JUDGE

Thls document enters-fl m ‘»L:“, docket sheetl cSm |iance n
with Rule 58 and;`or 79('¢1) l`-`HCP on ]Q 359 . ¢

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CV-02620 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

